Van−002 [Notice of Hearing] (Rev. 05/14)

                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                            Case No. 18−82948−CRJ11
Sarai Services Group, Inc.                                                        Chapter 11
                                                EIN: 46−2302969


          Debtor(s)

                                               NOTICE OF HEARING
       Notice is hereby given that a hearing will be held to consider and act upon the following:

       184 − Second Application for Compensation of Interim Professional Fees and Expenses for Tazewell
       Shepard, Debtor's Attorney, Period: 12/1/2018 to 2/28/2019, Fee: $41,889.50, Expenses: $815.55. Filed by
       Attorney Tazewell Shepard (Shepard, Tazewell)

       Date: Monday, May 6, 2019                        Time: 02:30 PM

         Location: Federal Building, Cain St Entrance, 3rd Floor Courtroom, Decatur, AL 35601
        Attorneys should attend all scheduled hearings. If a conflict is known, the Court should be notified
immediately. Continuances of non−evidentiary hearings may be granted if all parties consent. Evidentiary hearings
will not be continued except for good cause shown. If there is a failure to attend a scheduled hearing, and the Court
has not been notified of the reason for the failure, the Court may enter appropriate orders. Attendance is not required
if a settlement has been reached as approved by all parties and filed with the Court by an attorney prior to the hearing
date.

Dated: April 3, 2019                                         By:

                                                             Joseph E. Bulgarella, Clerk
                                                             United States Bankruptcy Court
rfl




      Case 18-82948-CRJ11                  Doc 185 Filed 04/03/19 Entered 04/03/19 14:11:26                 Desc
                                             Notice of Hearing Page 1 of 1
